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  10
        Debtor in Possession
  11
                                       UNITED STATES BANKRUPTCY COURT
  12
                                        CENTRAL DISTRICT OF CALIFORNIA
  13
                                        SAN FERNANDO VALLEY DIVISION
  14
        IN RE:                                                    CASE NO. 1:09-bk-11678-MT
  15
        PACIFICA OF THE VALLEY CORPORATION,1                      CHAPTER 11
  16
                 DEBTOR.
  17                                                              FINDINGS OF FACT, CONCLUSIONS OF
                                                                  LAW AND ORDER CONFIRMING THE
  18                                                              DEBTOR’S SECOND AMENDED CHAPTER
                                                                  11 PLAN OF REORGANIZATION, AS
  19                                                              MODIFIED
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                 The Debtor in this proceeding is: Pacifica of the Valley Corporation d/b/a Pacifica
  27    Hospital of the Valley (Tax ID No. XX-XXXXXXX), with a mailing address of 9449 San Fernando
        Rd., Sun Valley, CA 91352-1421.
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   1                                       INTRODUCTION
   2             Pacifica of the Valley Corporation (the “Debtor”) having filed its Second
   3    Amended Plan of Reorganization, as modified, dated as of December 17, 2010, which is
   4    docket entry number 598 (the “Plan”); the Court having entered an order, dated
   5    November 17, 2010: (A) Approving Disclosure Statement, (B) Scheduling a Hearing on
   6    Confirmation of the Debtor’s Second Amended Chapter 11 Plan of Reorganization; (C)
   7    Approving Solicitation Packages and Procedures for the Distribution of the Disclosure
   8    Statement; (D) Approving Form of Ballots; and (E) Establishing Voting Deadlines and
   9    Procedures for the Tabulation of Votes (the “Disclosure Statement Order”); the Debtor
  10    having distributed notice of the Disclosure Statement Order (the “Confirmation Hearing
  11    Notice”), the Plan and the Disclosure Statement in accordance with the Disclosure
  12    Statement Order together with Ballots to accept or reject the Plan; no objections having
  13    been filed to confirmation of the Plan; the Debtor having filed a Memorandum of Law in
  14    Support of Confirmation of the Debtor’s Second Amended Joint Plan of Liquidation, as
  15    Modified (the “Confirmation Memorandum”); the Debtor having filed (i) the Declaration
  16    of Katherine E. Hall Certifying Voting on and Tabulation of Ballots Accepting and
  17    Rejecting the Debtor’s Second Amended Chapter 11 Plan of Reorganization (the “Hall
  18    Declaration”), (ii) the Declaration of Ayman Mousa in Support of Confirmation of the
  19    Debtor’s Second Amended Joint Plan of Liquidation, as Modified (the “Mousa
  20    Declaration”), and (iii) the Declaration of Larry Tyrrell in Support of Confirmation of the
  21    Debtor’s Second Amended Joint Plan of Liquidation, as Modified (the “Tyrrell
  22    Declaration” and, collectively with the Hall Declaration and the Mousa Declaration, the
  23    “Supporting Declarations”); the Court having considered the Plan, the Confirmation
  24    Memorandum, the Supporting Declarations and all statements and comments regarding
  25    Confirmation and the records and files in the Chapter 11 Case; the Confirmation Hearing
  26    having been conducted on December 15, 2010; the Court having heard the statements of
  27    counsel at the Confirmation Hearing; the Court having considered all testimony presented
  28    and evidence admitted at the Confirmation Hearing and the record in these proceedings to


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   1    date; the Court having taken judicial notice of the papers and pleadings on file in the
   2    Chapter 11 Case; and it appearing to the Court that (a) the Confirmation Hearing Notice
   3    and the opportunity of any party-in-interest to object to Confirmation were fair, adequate
   4    and appropriate as to all parties to be affected by the Plan and the transactions
   5    contemplated thereby, and (b) the legal and factual bases set forth in the Confirmation
   6    Memorandum and presented at the Confirmation Hearing establish just cause for the
   7    relief granted herein;
   8             NOW, THEREFORE, the Court hereby makes the following Findings of Fact and
   9    Conclusions of Law and enters the following Order:2
  10    I.       FINDINGS OF FACT
  11             A.       Jurisdiction and Venue
  12             On February 17, 2009 (the “Petition Date”), the Debtor commenced its Chapter 11
  13    Case in good faith by filing a voluntary petition for relief under chapter 11 of the
  14    Bankruptcy Code. The Court has jurisdiction over this proceeding pursuant to 28 U.S.C.
  15    §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(L). The
  16    Debtor was and is qualified to be debtor under section 109 of the Bankruptcy Code.
  17    Venue in the Central District of California was proper as of the Petition Date and
  18    continues to be proper pursuant to 28 U.S.C. §§ 1408 and 1409.
  19             B.       Compliance with Section 1129 of the Bankruptcy Code
  20                      1.      Section 1129(a)(1) – Compliance of the Plan with Applicable
  21                              Provisions of the Bankruptcy Code

  22                              a.     The Plan complies with all applicable provisions of the

  23    Bankruptcy Code as required by section 1129(a)(1) of the Bankruptcy Code, including,

  24    without limitation, sections 1122 and 1123 of the Bankruptcy Code. Pursuant to sections

  25    1122(a) and 1123(a)(1) of the Bankruptcy Code, Article III of the Plan designates

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                     Capitalized terms not defined herein shall have the meanings ascribed to them in the
        Plan.
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   1    separate Classes of Claims and Equity Interests (other than Administrative Expense
   2    Claims and Priority Tax Claims). As required by section 1122(a) of the Bankruptcy
   3    Code, each such Class of Claims and Equity Interests contains only Claims or Equity
   4    Interests that are substantially similar to the other Claims or Equity Interests within that
   5    Class.
   6                         b.      Pursuant to section 1123(a)(2) and (3) of the Bankruptcy
   7    Code, Article IV of the Plan specifies all Claims that are Unimpaired under the Plan and
   8    specifies the treatment of all Claims and Equity Interests that are Impaired under the
   9    Plan.
  10                         c.      Pursuant to section 1123(a)(4) of the Bankruptcy Code,
  11    Article III of the Plan provides the same treatment for each Claim or Equity Interest
  12    within a particular Class.
  13                         d.      Pursuant to section 1123(a)(5) of the Bankruptcy Code, the
  14    Plan provides adequate means for the Plan’s implementation. On the Effective Date and
  15    thereafter, as applicable, the Reorganized Debtor will have sufficient cash to make all
  16    payments required to be made pursuant to the terms of the Plan.
  17                         e.      The Debtor’s Amended Certificate of Incorporation and
  18    Bylaws include all information required under section 1123(a)(6) of the Bankruptcy
  19    Code.
  20                         f.      As required by section 1123(a)(7) of the Bankruptcy Code,
  21    (a) the Debtor has selected the initial Officers and member of the Board of Directors in a
  22    manner consistent with the interests of creditors and equity security holders and with
  23    public policy, and (b) the manner in which successor Officers and members of the Board
  24    of Directors will be chosen is consistent with those interests and with public policy.
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   1                   2.     Section 1129(a)(2) – Compliance by the Debtor with Applicable
                              Provisions of the Bankruptcy Code
   2

   3             The Debtor, as the proponent of the Plan, complied with all applicable provisions

   4    of the Bankruptcy Code as required by section 1129(a)(2) of the Bankruptcy Code

   5    including, without limitation, sections 1125 and 1126 of the Bankruptcy Code and

   6    Bankruptcy Rules 3017, 3018 and 3019. The Disclosure Statement and the procedures

   7    by which the Ballots were solicited were fair, properly conducted and in accordance with

   8    section 1125(b) of the Bankruptcy Code and Bankruptcy Rules 3017 and 3018.

   9                   3.     Section 1129(a)(3) – Proposal of the Plan in Good Faith

  10             The Debtor proposed the Plan in good faith and not by any means forbidden by

  11    law. In determining that the Plan has been proposed in good faith, this Court has

  12    examined the totality of the circumstances surrounding the formulation of the Plan.

  13    Based on the uncontroverted evidence presented at the Confirmation Hearing, this Court

  14    finds and concludes that the Plan has been proposed with the legitimate and honest

  15    purpose of reorganizing the business affairs of the Debtor and maximizing the returns

  16    available to creditors of the Debtor. Consistent with the overriding purpose of chapter 11

  17    of the Bankruptcy Code, the Plan is designed to allow the Debtor to reorganize by

  18    providing it with a capital structure that will allow it to satisfy its obligations with

  19    sufficient liquidity and capital resources and to otherwise conduct its business.

  20    Moreover, the Plan itself, and the process leading to its formulation, including arms’

  21    length negotiations among the Debtor, the Committee, Sun, HCREIT and several other

  22    parties, provide additional and independent evidence of the Debtor’s good faith.

  23                   4.     Section 1129(a)(4) – Bankruptcy Court Approval of Certain
                              Payments as Reasonable
  24
                 Pursuant to section 1129(a)(4) of the Bankruptcy Code, any payments made by the
  25
        Debtor to Professionals for services or for costs and expenses in, or in connection with,
  26
        this Chapter 11 Case, have been or will be disclosed to the Bankruptcy Court in
  27
        applications to employ Professionals filed with the Bankruptcy Court and interim
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   1    applications for compensation of fees and reimbursement of expenses.           Pursuant to
   2    Section 2.2(a) of the Plan, any compensation of fees or reimbursement of expenses paid
   3    by the Debtor to Professionals pursuant to monthly invoices or interim applications will
   4    be subject to final approval by the Bankruptcy Court pursuant to section 330 of the
   5    Bankruptcy Code.
   6                   5.     Section 1129(a)(5) – Disclosure of Identity of Proposed
                              Management, Compensation of Insiders and Consistency of
   7
                              Management Proposals with the Interests of Creditors and
   8                          Public Policy

   9             Pursuant to section 1129(a)(5) of the Bankruptcy Code, the selection process for
  10    the initial Officers and member of the Board of Directors of the Reorganized Debtor is
  11    disclosed in the Plan. The appointment or continuation of the proposed Officers and
  12    members of the Board of Directors is consistent with the interests of the holders of
  13    Claims and Equity Interests and with public policy.
  14                   6.     Section 1129(a)(6) – Approval of Rate Change by Regulatory
                              Commission
  15

  16             The Debtor’s hospital does not involve the establishment of rates over which any

  17    regulatory commission has or will have jurisdiction after Confirmation. Accordingly,

  18    section 1129(a)(6) of the Bankruptcy Code is not applicable.

  19                   7.     Section 1129(a)(7) – Best Interests of Creditors

  20             With respect to each Impaired Class of Claims and Equity Interests, each holder of

  21    an Allowed Claim or Equity Interest in each such Impaired Class has accepted or is

  22    deemed to have accepted the Plan or, as demonstrated by the liquidation analysis

  23    included as Exhibit G to the Disclosure Statement and the Tyrrell Declaration, will

  24    receive or retain under the Plan on account of such Claim or Equity Interest property of a

  25    value, as of the Effective Date, that is not less than the amount that such holder would

  26    receive or retain if the Debtor were liquidated on the Effective Date under chapter 7 of

  27    the Bankruptcy Code.

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   1                    8.    Section 1129(a)(8) – Acceptance of the Plan by each Impaired
                              Class
   2

   3             Pursuant to sections 1124, 1126 and 1129(a)(8) of the Bankruptcy Code, (a) as

   4    indicated in Article IV of the Plan, Class 1 is Unimpaired and, accordingly, pursuant to

   5    section 1126(f) of the Bankruptcy Code, Class 1 is conclusively deemed to have accepted

   6    the Plan, and (b) as indicated in the Hall Declaration, holders of Allowed Claims in

   7    Classes 2 , 3, 4 and 6 have accepted the Plan pursuant to section 1126(a) of the

   8    Bankruptcy Code. Because the Plan provides that the holders of Claims in Class 7 and

   9    Equity Interests in Class 8 will not receive or retain any property on account of such

  10    Claims or Equity Interests, Classes 7 and 8 are deemed to have rejected the Plan pursuant

  11    to section 1126(g) of the Bankruptcy Code. In addition, no member of Class 5 voted on

  12    the Plan. Notwithstanding the lack of compliance with section 1129(a)(8) with respect to

  13    Classes 5, 7 and 8 , the Plan is confirmable because, as more fully set forth in section

  14    I.B.17 below, the Plan satisfies section 1129(b) of the Bankruptcy Code with respect to

  15    such Classes.

  16                    9.    Section 1129(a)(9) – Treatment of Claims Entitled to Priority
                              Pursuant to Section 507(a) of the Bankruptcy Code
  17
                 The Plan provides for treatment of Administrative Expense Claims, Priority
  18
        Claims and Priority Tax Claims in the manner required by section 1129(a)(9) of the
  19
        Bankruptcy Code.
  20
                        10.   Section 1129(a)(10) – Acceptance by at Least One Impaired
  21                          Class
  22
                 As required by section 1129(a)(10) of the Bankruptcy Code and as indicated in the
  23
        Hall Declaration, at least one Impaired Class of Claims has accepted the Plan (i.e. ,
  24
        Classes 2, 3, 4 and 6) excluding votes cast by any insider.
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   1                   11.    Section 1129(a)(11) – Feasibility of the Plan
   2             Although the Debtor’s business is subject to several risk factors, including with
   3    respect to governmental and regulatory issues, and although it is impossible to predict
   4    with certainty the precise future profitability of the Debtor’s business, (a) Confirmation
   5    of the Plan is not likely to be followed by the liquidation of, or the need for further
   6    financial reorganization of the Debtor, the Reorganized Debtor or any successor to the
   7    Reorganized Debtor under the Plan, and (b) upon the Effective Date and thereafter, as
   8    applicable, the Reorganized Debtor will have sufficient cash flow and capital resources to
   9    pay its liabilities as they become due, to satisfy the capital needs for the conduct of its
  10    business and meet its financial obligations under the Plan, all as demonstrated by the
  11    Tyrrell Declaration and the projections attached as Exhibit F to the Disclosure Statement
  12    and subject to the limitations and qualifications set forth in such documents. The Plan
  13    therefore satisfies section 1129(a)(11) of the Bankruptcy Code.
  14                   12.    Section 1129(a)(12) – Payment of Bankruptcy Fees
  15             In accordance with section 1129(a)(12) of the Bankruptcy Code, Section 6.14 of
  16    the Plan provides for the payment of all fees payable under 28 U.S.C. § 1930 on the
  17    Effective Date and until the liability for paying such fees ends under 28 U.S.C. §
  18    1930(a)(6).
  19                   13.    Section 1129(a)(13) – Retiree Benefits
  20             Pursuant to Section 6.18 of the Plan, from and after the Effective Date, the
  21    Reorganized Debtor will be obligated to pay retiree benefits (as defined in § 1114(a) of
  22    the Bankruptcy Code), if any, in accordance with the terms of any retiree benefit plans or
  23    other agreements governing the payment of such benefits, subject to any rights to amend,
  24    modify or terminate such benefits under the terms of the applicable retiree benefits plan,
  25    other agreement or applicable non-bankruptcy law, as the Debtor will have no obligation
  26    to fund retiree benefits as of the Effective Date of the Plan. The Plan therefore satisfies
  27    section 1129(a)(13) of the Bankruptcy Code.
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   1                   14.    Section 1129(a)(14) – Domestic Support Obligations
   2             The Debtor is a corporation and, therefore, section 1129(a)(14) of the Bankruptcy
   3    Code does not apply to this case.
   4                   15.    Section 1129(a)(15) – Individual Debtor Income Test
   5
                 The Debtor is a corporation and, therefore, section 1129(a)(15) of the Bankruptcy
   6
        Code does not apply to this case.
   7
                       16.    Section 1129(a)(16) – Transfers of Property
   8
                 Pursuant to section 1129(a)(16) of the Bankruptcy Code, all transfers of property
   9
        of the Plan shall be made in accordance with any applicable provisions of non-
  10
        bankruptcy law that govern the transfer of property by a corporation or trust that is not a
  11
        moneyed, business or commercial corporation or trust.
  12
                       17.    Section 1129(b) – Confirmation of the Plan over Nonacceptance
  13                          of Impaired Classes
  14             Pursuant to section 1129(b)(1) of the Bankruptcy Code, the Plan is confirmable
  15    notwithstanding the fact that the holders of Claims in Class 5 did not accept the Plan and
  16    holders of Claims in Class 7 and Equity Interests in Class 8 are Impaired and are deemed
  17    to have rejected the Plan.     Other than the requirement in section 1129(a)(8) of the
  18    Bankruptcy Code that Classes 5, 7 and 8 accept the Plan, all of the requirements of
  19    section 1129(a) of the Bankruptcy Code have been met. The Plan does not discriminate
  20    unfairly and is fair and equitable with respect to the holders of Allowed Claims in Classes
  21    5 and 7 and Equity Interests in Class 8. Holders of Claims in Class 5 retain their Liens
  22    and receive deferred cash payments of the Allowed amount of their Claims, of a value, as
  23    of the Effective Date, of at least the value of the holder’s interest in the Estate’s interest
  24    in property subject to such Lien. No holders of any Claim or Equity Interests junior to
  25    the Claims and Equity Interests Classes 7 and 8, as applicable, will receive or retain any
  26    property under the Plan on account of such junior Claims or Equity Interests.
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   1                   18.    Section 1129(d) – Principal Purpose of Plan
   2             The principal purpose of the Plan is not the avoidance of taxes or the avoidance of
   3    the application of Section 5 of the Securities Act of 1933 (the “Securities Act”).
   4             C.    Settlements and Releases
   5                   1.     Serra Settlement and Release
   6             As demonstrated by the Mousa Declaration and the Disclosure Statement, the
   7    benefits to be received by the Debtor and the Estate as a result of the Serra release set
   8    forth in Section 13.4(c) of the Plan constitute fair and reasonable value for the release of
   9    Serra set forth in Section 13.4(b) of the Plan.         The Debtor’s settlement with Serra
  10    therefore is fair and reasonable and in the best interests of the Estate.
  11                   2.     Treatment of the Envision Claim
  12             As demonstrated by the Mousa Declaration and the Disclosure Statement, the
  13    treatment of the Envision Claim set forth in Section 13.5 of the Plan is fair and
  14    reasonable and in the best interests of the Estate.
  15                   3.     Fairness and Necessity of Releases
  16             The releases and injunctions set forth in Section 13.4 of the Plan, including the
  17    releases of non-debtor parties pursuant to (a) the general releases by holders of Claims in
  18    Section 13.4(a) of the Plan, and (b) the releases in Section 13.4(b) of the Plan by the
  19    Debtor, the Committee, Sun and HCREIT are, individually and collectively, (i) integral to
  20    the settlements that form the basis of the Plan, (ii) necessary for the reorganization of the
  21    Debtor, and (iii) supported by reasonable consideration. In light of all the circumstances,
  22    the releases set forth in Section 13.4 of the Plan are fair to the releasing parties.
  23             D.    Non-Material Amendments to the Plan
  24             The amendments to the Plan identified in the Amendments to Debtor’s Second
  25    Amended Joint Plan of Liquidation (the “Non-Material Plan Amendments”) constitute
  26    non-material amendments to the Plan under section 1127 of the Bankruptcy Code.
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   1    II.      CONCLUSIONS OF LAW
   2             A.    Jurisdiction and Venue
   3             The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and
   4    1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(L). The Debtor was
   5    and is qualified to be debtor under section 109 of the Bankruptcy Code. Venue in the
   6    Central District of California was proper as of the Petition Date and continues to be
   7    proper pursuant to 28 U.S.C. §§ 1408 and 1409.
   8             B.    Modifications of the Plan
   9             The Non-Material Plan Amendments (1) comply in all respects with section 1127
  10    of the Bankruptcy Code, Bankruptcy Rule 3019 and all other provisions of the
  11    Bankruptcy Code, and (2) do not materially change the treatment under the Plan of any
  12    holders of Claims or Equity Interests. In light of the nature of each of the Non-Material
  13    Plan Amendments and the prior disclosures in the Disclosure Statement, no additional
  14    disclosure under section 1125 of the Bankruptcy Code is required with respect to the
  15    Non-Material Plan Amendments.           Accordingly, pursuant to section 1127 of the
  16    Bankruptcy Code and Bankruptcy Rule 3019, all holders of Claims that have accepted or
  17    are conclusively presumed to have accepted the Plan dated November 16, 2010 are
  18    deemed to have accepted the Plan, including all Non-Material Plan Amendments thereto.
  19             C.    Exemptions from Securities Laws
  20                   1.     Pursuant to section 1125(d) of the Bankruptcy Code, the Debtor’s
  21    transmittal of Plan solicitation packages, its solicitation of acceptances of the Plan and its
  22    issuance and distribution of New Stock, the HCREIT Promissory Note, the Sun
  23    Promissory Note, the General Unsecured Promissory Note, the Sun Term Loan and any
  24    other securities issuable pursuant to the Plan are not and will not be governed by or
  25    subject to any otherwise applicable law, rule or regulation governing the solicitation or
  26    acceptance of a plan of reorganization or the offer, issuance, sale or purchase of
  27    securities.   Accordingly, the Debtor, the Reorganized Debtor and their respective
  28    directors, officers, employees, agents and professionals (acting in such capacity) are


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   1    entitled to the protection of section 1125(e) of the Bankruptcy Code.
   2                   2.     Pursuant to section 1145(a)(1) of the Bankruptcy Code, the offering,
   3    issuance and distribution of the New Stock, the HCREIT Promissory Note, the Sun
   4    Promissory Note, the General Unsecured Promissory Note, the Sun Term Loan and any
   5    other securities issuable pursuant to the Plan shall be exempt from section 5 of the
   6    Securities Act and any state or local law requiring registration prior to the offering,
   7    issuance, distribution or sale of securities.
   8                   3.     Pursuant to and to the fullest extent permitted by section 1145 of the
   9    Bankruptcy Code, the resale of the New Stock, the HCREIT Promissory Note, the Sun
  10    Promissory Note, the General Unsecured Promissory Note, the Sun Term Loan and any
  11    other securities issuable pursuant to the Plan shall be exempt from section 5 of the
  12    Securities Act and any state or local law requiring registration prior to the offering,
  13    issuance, distribution or sale of securities.
  14             D.    Exemptions from Taxation
  15             Pursuant to § 1146 (a) of the Bankruptcy Code, any transfers from the Debtor to
  16    the Reorganized Debtor, Sun or to any other Person pursuant to the Plan, or any
  17    agreement regarding the transfer of title to or ownership of any of the Debtor’s real or
  18    personal property, will not be subject to any document recording tax, stamp tax, real
  19    estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
  20    tax, or other similar tax or governmental assessment. The appropriate state or local
  21    governmental officials or agents are hereby directed to forego the collection of any such
  22    tax or governmental assessment and to accept for filing and recordation any of the
  23    foregoing instruments or other documents without the payment of any such tax or
  24    governmental assessment.
  25             E.    Compliance with Section 1129 of the Bankruptcy Code
  26             As set forth in Section I.B above, the Plan complies with the applicable
  27    requirements of section 1129 of the Bankruptcy Code.
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   1             F.    Approval of Settlements, Compromises, Releases and Related
                       Provisions
   2

   3             Pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule

   4    9019(a), all settlements, compromises, releases, indemnifications and exculpations set

   5    forth in the Plan, including, without limitation, the settlements, compromises, releases,

   6    indemnifications and exculpations set forth in Sections 13.4 and 13.5 of the Plan and

   7    implemented by this Confirmation Order, are hereby approved as fair, equitable,

   8    reasonable and in the best interests of the Debtor, the Reorganized Debtor, the Estate and

   9    holders of Claims and Equity Interests.

  10             G.    Assumptions, Assumptions and Assignments and Rejections of
                       Executory Contracts and Unexpired Leases
  11
                 Each pre- or post-Effective Date assumption, assumption and assignment or
  12
        rejection of an Executory Contract or Unexpired Lease pursuant to Article IX or other
  13
        provisions of the Plan shall be legal, valid and binding upon the Debtor or Reorganized
  14
        Debtor and all non-debtor parties to such Executory Contract or Unexpired Lease, all to
  15
        the same extent as if such assumption, assumption and assignment or rejection had been
  16
        effectuated pursuant to an appropriate order of the Bankruptcy Court entered before the
  17
        Confirmation Date under section 365 of the Bankruptcy Code.
  18
        III.     ORDER
  19
                 ACCORDINGLY, THE COURT HEREBY ORDERS THAT:
  20
                 A.    Confirmation of the Plan
  21
                 The Plan and each of its provisions (whether or not specifically approved herein)
  22
        is hereby APPROVED and CONFIRMED in all respects pursuant to section 1129 of the
  23
        Bankruptcy Code; provided, however, that if there is any direct conflict between the
  24
        terms of the Plan and the terms of this Confirmation Order, the terms of this
  25
        Confirmation Order shall control.      All objections and responses to, and statements
  26
        regarding, the Plan, to the extent that they have not been withdrawn, waived or settled
  27
        prior to entry of this Confirmation Order or are not cured by the relief granted herein, are
  28



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   1    hereby expressly overruled.
   2             B.    Effects of Confirmation
   3                   1.    Immediate Effectiveness; Successors and Assigns
   4             The stay contemplated by Bankruptcy Rule 3020(e) shall not apply to this
   5    Confirmation Order.       Subject to the provisions of Article X of the Plan, and
   6    notwithstanding any otherwise applicable law, immediately upon the entry of this
   7    Confirmation Order, the terms of the Plan and this Confirmation Order are deemed
   8    binding on the Debtor, the Reorganized Debtor, any and all holders of Claims and Equity
   9    Interests (irrespective of whether such Claims or Equity Interests are Impaired under the
  10    Plan or whether the holders of such Claims or Equity Interests accepted, rejected or are
  11    deemed to have acted or rejected the Plan), any and all non-debtor parties to Executory
  12    Contracts and Unexpired Leases with the Debtor and any and all entities who are parties
  13    to or are subject to the settlements, compromises, releases, discharges and injunctions set
  14    forth in the Plan and the respective heirs, executors, administrators, successors or assigns,
  15    if any, of any of the foregoing.
  16                   2.    Continued Corporate Existence; Vesting of Assets
  17             As of the Effective Date, the Reorganized Debtor shall continue to exist as a
  18    corporate entity in accordance with applicable law pursuant to its Amended Certificate of
  19    Incorporation and Bylaws, without prejudice to any right to terminate such existence
  20    (whether by merger or otherwise) under applicable law after the Effective Date. Except
  21    as otherwise provided in the Plan, on and after the Effective Date, all property of the
  22    Estate, including all claims, rights and Causes of Action, other than Assigned Causes of
  23    Action, shall vest in the Reorganized Debtor free and clear of all Claims, Liens, charges,
  24    other encumbrances, and Equity Interests.         On and after the Effective Date, the
  25    Reorganized Debtor may operate its business and may use, acquire, and dispose of
  26    Property and compromise or settle any Claims without supervision of or approval of the
  27    Bankruptcy Court free and clear of any restrictions of the Bankruptcy Code or the
  28    Bankruptcy Rules, other than restrictions expressly imposed by the Plan or this


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   1    Confirmation Order. Without limiting the foregoing, the Reorganized Debtor may pay
   2    the charges that it incurs on or after the Effective Date for professional fees,
   3    disbursements, expenses or related support services without application to the
   4    Bankruptcy Court.
   5                   3.     Release of Liens
   6             Except as otherwise provided in the Plan or in any contract, instrument, release or
   7    other agreement or document entered into or delivered in connection with the Plan, on the
   8    Effective Date, all mortgages, deeds of trust, Liens or other security interests against the
   9    property of the Estate vesting in the Reorganized Debtor or Sun will be fully released and
  10    discharged. As of the Effective Date, the Reorganized Debtor shall be authorized to file
  11    or record on behalf of creditors or putative creditors such Uniform Commercial Code
  12    termination statements, real property releases or reconveyances, or other documents or
  13    instruments as may be necessary to implement the provisions of Section 6.4 of the Plan.
  14    This Court shall retain jurisdiction, both before and after the Effective Date, to enforce
  15    Section 6.4 of the Plan and this Section III.B.3 including, without limitation, for any
  16    proceeding to hold a non-debtor party in contempt for failing to release Liens or other
  17    encumbrances in accordance with the Plan.
  18                   4.     Executory Contracts and Unexpired Leases
  19                          a.     Rejection of Executory Contracts and Unexpired Leases
  20             Except as otherwise provided in this Co nfirmation Order, pursuant to sections
  21    365(a) and 1123(b)(2) of the Bankruptcy Code, all remaining Executory Contracts and
  22    Unexpired Leases that exist between the Debtor and any Person shall be deemed rejected
  23    as of the Effective Date, except for any Executory Contract or Unexpired Lease (i) that
  24    has been assumed, assumed and assigned or rejected pursuant to an order of the
  25    Bankruptcy Court entered prior to the Effective Date, or (ii) as to which a motion for
  26    approval of the assumption, assumption and assignment or rejection has been filed prior
  27    to the later of (x) the Effective Date, or (y) January 31, 2011. Any claims arising from
  28    the rejection of an Executory Contract or Unexpired Lease (“Rejection Claims”) shall be


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   1    classified in Class 6 under the Plan. Notwithstanding anything to the contrary herein, the
   2    Debtor is not rejecting its Collective Bargaining Agreements with SEIU United
   3    Healthcare Workers West and Service Employees International Union Local 121 RN
   4    dated June 1, 2010, which shall remain binding after the Effective Date.
   5                          b.     Bar Date for Filing Rejection Claims
   6             A Proof of Claim asserting a Rejection Claim shall be filed with this Court on or
   7    before the fortieth (40th) day after the Effective Date or be forever barred from assertion
   8    of any Rejection Claim against and payment from the Reorganized Debtor.
   9                   5.     Preservation of Causes of Action
  10                          a.     Vesting of Causes of Action
  11             In accordance with section 1123(b) of the Bankruptcy Code, except (i) as
  12    otherwise provided in the Plan, and (ii) with respect to Assigned Causes of Action, the
  13    Reorganized Debtor shall retain and may enforce all rights to commence and pursue, as
  14    appropriate, any and all claims and Causes of Action held by the Debtor and/or the
  15    Estate, whether arising before or after the Petition Date. Except for the Assigned Causes
  16    of Action, all such claims and Causes of Action, along with all rights, interests and
  17    defenses related thereto, shall vest with the Reorganized Debtor. The Assigned Causes of
  18    Action, along with all rights, interests and defenses related thereto, shall vest in Sun.
  19                          b.     Reservation of Causes of Action
  20             Unless any Cause of Action against a Person is expressly waived, relinquished,
  21    exculpated, released, compromised or settled in the Plan or a Final Order, the Debtor and
  22    the Reorganized Debtor specifically reserve all Causes of Action, other than the Assigned
  23    Causes of Action, for later adjudication, and Sun specifically reserves all Assigned
  24    Causes of Action for later adjudication. Therefore, no preclusion doctrine, estoppel
  25    (judicial, equitable or otherwise) or laches shall apply to any of the Causes of Action
  26    upon, after or as a consequence of the confirmation, the Effective Date or consummation
  27    of the Plan.
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   1                           c.     Preservation of Defensive Use of Causes of Action
   2             Whether or not any Cause of Action other than an Assigned Cause of Action is
   3    pursued or abandoned, the Debtor and the Reorganized Debtor reserve their rights to use
   4    any such Cause of Action defensively, including for the purposes of asserting a setoff or
   5    recoupment, or to object to all or part of any Claim pursuant to section 502(d) of the
   6    Bankruptcy Code or otherwise. Whether or not any Assigned Cause of Action is pursued
   7    or abandoned, Sun reserves its rights to use any such Assigned Cause of Action
   8    defensively, including for the purposes of asserting a setoff or recoupment, or to object to
   9    all or part of any Claim pursuant to section 502(d) of the Bankruptcy Code or otherwise.
  10                           d.     Discretion to Pursue or Settle and Immunity of the Parties
  11             The Reorganized Debtor shall have discretion to pursue or not to pursue, to settle
  12    or not to settle, to try or not to try, and/or to appeal or not to appeal all Causes of Action
  13    other than the Assigned Causes of Action, and Sun shall have discretion to pursue or not
  14    to pursue, to settle or not to settle, to try or not to try, and/or to appeal or not to appeal all
  15    Assigned Causes of Action, as each of them determine s in the exercise of its business
  16    judgment and without any further approval of the Bankruptcy Court thereof.                   The
  17    Reorganized Debtor, the Board of Directors, Sun and their respective attorneys and other
  18    professionals shall have no liability for the outcome of their decisions.
  19                    6.     Class 6 Creditor Trust
  20             The Class 6 Creditor Trust shall have the duties and powers set forth in the Class 6
  21    Creditor Trust Agreement and Section 6.17 of the Plan.
  22             C.     Actions in Furtherance of the Plan
  23             Pursuant to section 1142(b) of the Bankruptcy Code and applicable state law, no
  24    action of the boards of directors of the Debtor or the Reorganized Debtor will be required
  25    to authorize them (or any of their officers, employees or agents acting on their behalf) to
  26    effectuate and carry out the Plan and all orders of the Court relating thereto, to
  27    consummate the transactions contemplated by the Plan and this Confirmation Order or to
  28    take or do any other action or thing contemplated by the Plan, this Confirmation Order or


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   1    such orders as may be necessary or appropriate to fully effectuate the intents and
   2    purposes thereof, and all such actions and things hereby are or will be deemed to have
   3    been taken or done with like effect as if they had been authorized and approved by
   4    unanimous actions of the boards of directors of the Debtor and the Reorganized Debtor.
   5             D.    Releases
   6             The releases contained in Section 13.4 and 13.5 of the Plan are approved in all
   7    respects. As further provided in Section III.E.2 below, the commencement or prosecution
   8    by any entity, whether directly, derivatively or otherwise, of any claims, obligations,
   9    suits, judgments, damages, demands, debts, rights, causes of action or liabilities released
  10    pursuant to Section 13.4 and 13.5 of the Plan and this Section III.D is permanently
  11    enjoined.
  12             E.    Recapitalization Agreement
  13             On the Effective Date and simultaneously with the vesting of the Debtor’s assets
  14    in the Reorganized Debtor, the Reorganized Debtor shall enter into the Recapitalization
  15    Agreement with Tuft.       The Recapitalization Agreement is hereby approved in all
  16    respects.     As of the Effective Date and in accordance with the terms of the
  17    Recapitalization Agreement, Tuft shall own 100% of the New Stock and shall have the
  18    authority to manage the Reorganized Debtor pursuant to the terms of the Plan and other
  19    applicable law.
  20             F.    Intercreditor Agreement
  21             Amendments to or modifications of the Intercreditor Agreement after the Effective
  22    Date shall not require modification of the Plan or the approval of this Court.
  23             G.    Patient Care Ombudsman
  24             The Patient Care Ombudsman is hereby discharged of any further duties to the
  25    Debtor and the Estate as of the entry of this Confirmation Order.
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   1             H.    Discharge and Injunction
   2                   1.     Discharge of the Debtor
   3             Pursuant to section 1141(d) of the Bankruptcy Code and, except as otherwise
   4    specifically provided in the Plan or in this Confirmation Order, the rights afforded and
   5    the payments and distributions to be made and the treatment under the Plan shall be in
   6    complete exchange for, and in full and unconditional settlement, satisfaction, discharge,
   7    and release of any and all existing debts and Claims and termination of all Equity
   8    Interests of any kind, nature, or description whatsoever against or in the Debtor, the
   9    Reorganized Debtor, their property, the Debtor’s assets, or the Estate, and shall effect a
  10    full and complete release, discharge, and termination of all Liens, security interests, or
  11    other claims, interests, or encumbrances upon all of the Debtor’s assets and property.
  12                   2.     Injunctions
  13             All Persons are precluded from asserting, against the Debtor or the Reorganized
  14    Debtor or their respective successors, or any property that is to be distributed under the
  15    terms of the Plan, any Claims, obligations, rights, causes of action, liabilities, or Equity
  16    Interests based upon any act, omission, transaction, or other activity of any kind or nature
  17    that occurred prior to the Effective Date, other than as expressly provided for in the Plan,
  18    or this Confirmation Order, whether or not (a) a Proof of Claim based upon such debt is
  19    filed or deemed filed under section 501 of the Bankruptcy Code; (b) a Claim based upon
  20    such debt is Allowed; or (c) the Claimant based upon such debt has accepted the Plan.
  21    Except as otherwise provided in the Plan or this Confirmation Order, all Claimants and
  22    holders of Equity Interests arising prior to the Effective Date shall be permanently barred
  23    and enjoined from asserting against the Reorganized Debtor or the Debtor, or their
  24    successors or property, or the Debtor’s assets, any of the following actions on account of
  25    such Claim or Equity Interest: (i) commencing or continuing in any manner any action or
  26    other proceeding on account of such Claim or Equity Interest against the Reorganized
  27    Debtor, the Debtor, or the property to be distributed under the terms of the Plan,
  28    including, without limitation, the Assigned Causes of Action, other than to enforce any


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   1    right to distribution with respect to such property under the Plan; (ii) enforcing, attaching,
   2    collecting, or recovering in any manner any judgment, award, decree, or order against the
   3    Reorganized Debtor, the Debtor or any of the property to be distributed under the terms
   4    of the Plan, including, without limitation, the Assigned Causes of Action, other than as
   5    permitted under sub-paragraph (i) above; (iii) creating, perfecting, or enforcing any Lien
   6    or encumbrance against property of the Reorganized Debtor, the Debtor, or any property
   7    to be distributed under the terms of the Plan, including, without limitation, the Assigned
   8    Causes of Action, other than as permitted under sub-paragraph (i) above; (iv) asserting
   9    any right of setoff, subrogation, or recoupment of any kind, directly or indirectly, against
  10    any obligation due any Debtor, the Reorganized Debtor, their assets or any other property
  11    of the Debtor, the Reorganized Debtor, or any direct or indirect transferee of any property
  12    of, or successor in interest to, any of the foregoing Persons including, without limitation,
  13    Sun as transferee of the Assigned Causes of Action; and (v) acting or proceeding in any
  14    manner, in any place whatsoever, that does not conform to, or comply with, the
  15    provisions of the Plan. The foregoing discharge, release and injunction are an integral
  16    part of the Plan and are essential to its implementation. The Debtor and the Reorganized
  17    Debtor shall have the right to independently seek the enforcement of the discharge,
  18    release and injunction set forth herein and in Section 11.1 of the Plan.
  19                   3.     Term of Injunctions or Stays
  20             Unless otherwise provided in the Plan, all injunctions or stays provided for in the
  21    Chapter 11 Case pursuant to sections 105 or 362 of the Bankruptcy Code, or otherwise,
  22    and in effect on the Confirmation Date, shall remain in full force and effect until the
  23    Effective Date, at which time they are replaced with the injunction set forth in Section
  24    III.E.2 above and in Section 11.1 of the Plan.
  25             I.    Substantial Consummation
  26             The substantial consummation of the Plan, within the meaning of section 1127 of
  27    the Bankruptcy Code, shall be deemed to occur on the Effective Date.
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   1             J.    Payment of Statutory Fees
   2             On the Effective Date, the Debtor shall pay all fees payable pursuant to 28 U.S.C.
   3    § 1930. After the Effective Date, the Reorganized Debtor shall continue to pay such fees
   4    until the liability for paying such fees ends under 28 U.S.C. § 1930(a)(6).
   5             K.    Reference to and Validity and Enforceability of Plan Provisions
   6             The failure to reference any particular provision in the Plan in this Confirmation
   7    Order shall have no effect on the binding effect, enforceability or legality of such
   8    provision and such provision shall have the same binding effect, enforceability or legality
   9    as every other provision of the Plan. Each term and provision of the Plan, as modified or
  10    interpreted by the Court, is valid and enforceable pursuant to its terms.
  11             L.    Notice of Entry of Confirmation Order
  12             Pursuant to Bankruptcy Rules 2002(f)(7) and 3020(c), the Debtor is hereby
  13    directed to serve a notice of the entry of this Confirmation Order, and if it has occurred,
  14    the Effective Date, substantially in the form of Exhibit A attached hereto and
  15    incorporated herein by reference (the “Confirmation Notice”), on all parties that received
  16    notice of the Confirmation Hearing, no later than 20 Business Days after the
  17    Confirmation Date; provided, however, that the Debtor shall be obligated to serve the
  18    Confirmation Notice only on the record holders of Claims and Equity Interests.
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 1                 M.     Post-Confirmation Status Hearing
 2                 This Court shall hold a post-confirmation status hearing on June 16, 2011 at 9:30
 3        a.m. The Reorganized Debtor shall file a post-confirmation status report on or before
 4        June 9, 2011.
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        DATED: December 27, 2010
27                                              United States Bankruptcy Judge

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                            EXHIBIT A
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   1    Edward J. Green (IL BAR NO. 6225069) (PRO HAC VICE)
        Geoffrey S. Goodman (IL BAR NO. 6272297) (PRO HAC VICE)
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   6    DAVID GOULD (CA Bar No. 37947)
        DAVID GOULD, A PROFESSIONAL CORPORATION
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   9    Email: dgould@davidgouldlaw.com

        Attorneys for Debtor and
  10
        Debtor in Possession
  11
                                       UNITED STATES BANKRUPTCY COURT
  12
                                        CENTRAL DISTRICT OF CALIFORNIA
  13
                                        SAN FERNANDO VALLEY DIVISION
  14
        IN RE:                                                    CASE NO. 1:09-bk-11678-MT
  15
        PACIFICA OF THE VALLEY CORPORATION,1                      CHAPTER 11
  16
                 DEBTOR.
  17                                                              NOTICE OF ENTRY OF ORDER
                                                                  CONFIRMING THE DEBTOR’S SECOND
  18                                                              AMENDED CHAPTER 11 PLAN OF
                                                                  REORGANIZATION, AS MODIFIED
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                 1
                 The Debtor in this proceeding is: Pacifica of the Valley Corporation d/b/a Pacifica
  27    Hospital of the Valley (Tax ID No. XX-XXXXXXX), with a mailing address of 9449 San Fernando
        Rd., Sun Valley, CA 91352-1421.
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   1                  PLEASE TAKE NOTICE OF THE FOLLOWING:
   2                 1.     Confirmation of the Plan. On December           , 2010, the United
        States Bankruptcy Court for the Central District of California entered an order (the
   3
        “Confirmation Order”) confirming the Second Amended Joint Plan of Reorganization, as
   4    Modified (the “Plan”) in the above-captioned chapter 11 case of Pacifica of the Valley
        Corporation (the “Debtor”). Unless otherwise defined in this Notice, capitalized terms
   5    and phrases used herein shall have the meanings ascribed to them in the Plan and the
   6    Confirmation Order.

   7                  2.     Effective Date. The Effective Date of the Plan occurred on         .

   8                  3.     Discharge of the Debtor. Pursuant to section 1141(d) of the
        Bankruptcy Code and, except as otherwise specifically provided in the Plan or in the
   9
        Confirmation Order, the rights afforded and the payments and distributions to be made
  10    and the treatment under the Plan shall be in complete exchange for, and in full and
        unconditional settlement, satisfaction, discharge, and release of any and all existing debts
  11    and Claims and termination of all Equity Interests of any kind, nature, or description
  12
        whatsoever against or in the Debtor, the Reorganized Debtor, their property, the Debtor’s
        assets, or the Estate, and shall effect a full and complete release, discharge, and
  13    termination of all Liens, security interests, or other claims, interests, or encumbrances
        upon all of the Debtor’s assets and property.
  14

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                        4.     Injunctions. All Persons are precluded from asserting, against the
        Debtor or the Reorganized Debtor or their respective successors, or any property that is to
  16    be distributed under the terms of the Plan, any Claims, obligations, rights, causes of
        action, liabilities, or Equity Interests based upon any act, omission, transaction, or other
  17    activity of any kind or nature that occurred prior to the Effective Date, other than as
  18    expressly provided for in the Plan, or this Confirmation Order, whether or not (a) a Proof
        of Claim based upon such debt is filed or deemed filed under section 501 of the
  19    Bankruptcy Code; (b) a Claim based upon such debt is Allowed; or (c) the Claimant
        based upon such debt has accepted the Plan. Except as otherwise provided in the Plan or
  20
        this Confirmation Order, all Claimants and holders of Equity Interests arising prior to the
  21    Effective Date shall be permanently barred and enjoined from asserting against the
        Reorganized Debtor or the Debtor, or their successors or property, or the Debtor’s assets,
  22    any of the following actions on account of such Claim or Equity Interest: (i)
  23    commencing or continuing in any manner any action or other proceeding on account of
        such Claim or Equity Interest against the Reorganized Debtor, the Debtor, or the property
  24    to be distributed under the terms of the Plan, including, without limitation, the Assigned
        Causes of Action, other than to enforce any right to distribution with respect to such
  25
        property under the Plan; (ii) enforcing, attaching, collecting, or recovering in any manner
  26    any judgment, award, decree, or order against the Reorganized Debtor, the Debtor or any
        of the property to be distributed under the terms of the Plan, including, without limitation,
  27    the Assigned Causes of Action, other than as permitted under sub-paragraph (i) above;
  28    (iii) creating, perfecting, or enforcing any Lien or encumbrance against property of the
        Reorganized Debtor, the Debtor, or any property to be distributed under the terms of the

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   1    Plan, including, without limitation, the Assigned Causes of Action, other than as
        permitted under sub-paragraph (i) above; (iv) asserting any right of setoff, subrogation, or
   2
        recoupment of any kind, directly or indirectly, against any obligation due any Debtor, the
   3    Reorganized Debtor, their assets or any other property of the Debtor, the Reorganized
        Debtor, or any direct or indirect transferee of any property of, or successor in interest to,
   4    any of the foregoing Persons including, without limitation, Sun as transferee of the
   5    Assigned Causes of Action; and (v) acting or proceeding in any manner, in any place
        whatsoever, that does not conform to, or comply with, the provisions of the Plan. The
   6    foregoing discharge, release and injunction are an integral part of the Plan and are
        essential to its implementation. The Debtor and the Reorganized Debtor shall have the
   7
        right to independently seek the enforcement of the discharge, release and injunction set
   8    forth in the Confirmation Order and in Section 11.1 of the Plan.

   9                  5.     Executory Contracts and Unexpired Leases. Except as otherwise
        provided in the Confirmation Order, pursuant to §§ 365(a) and 1123(b)(2) of the
  10    Bankruptcy Code, all remaining Executory Contracts and Unexpired Leases that exist
  11    between the Debtor and any Person shall be deemed rejected as of the Effective Date,
        except for any Executory Contract or Unexpired Lease (i) that has been assumed,
  12    assumed and assigned or rejected pursuant to an order of the Bankruptcy Court entered
  13
        prior to the Effective Date, or (ii) as to which a motion for approval of the assumption,
        assumption and assignment or rejection has been filed prior to the later of (x) the
  14    Effective Date, or (y) January 31, 2011. Any claims arising from the rejection of an
        Executory Contract or Unexpired Lease (“Rejection Claims”) shall be classified in Class
  15    6 under this Plan.
  16
                      6.     Bar Dates.
  17
                             a.     Rejection Claims. A Proof of Claim asserting a Rejection
  18    Claim shall be filed with the Bankruptcy Court on or before the fortieth (40th) day after
        the Effective Date or be forever barred from assertion of any Rejection Claim against and
  19
        payment from the Reorganized Debtor.
  20
                               b.     Professionals. All Professionals shall file a final application
  21    for the allowance of a Fee Claim on or before forty (40) days following the Effective
        Date. Objections to any Fee Claim must be filed and served on the Reorganized Debtor,
  22
        former counsel for the Committee and the requesting Professional no later than twenty
  23    (20) days after the filing of the applicable application for allowance of the Fee Claim.
  24                         c.    Other Administrative Expense Claimants. All holders of
        Administrative Expense Claims other than Professionals shall file a request for payment
  25
        of an Administrative Expense Claim with the Bankruptcy Court on or before forty (40)
  26    days following the Effective Date. Holders of Administrative Expense Claims, including
        such Persons asserting a Claim under § 503(b)(9) of the Bankruptcy Code, who do not
  27    file a request for payment by such deadline shall be forever barred from asserting such
  28    Claims against the Debtor, the Reorganized Debtor or their respective property and assets
        (whether cash or otherwise).

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   1                 7.    Copies of Confirmation Order. Copies of the Confirmation Order
        may be obtained by calling Katherine E. Hall at (407) 423-7656.
   2

   3    DATE:                                      RESPECTFULLY SUBMITTED,

   4

   5                                               FOLEY & LARDNER LLP
                                                   EDWARD J. GREEN (ADMITTED PRO HAC
   6                                               VICE)
                                                   GEOFFREY S. GOODMAN (ADMITTED PRO
   7                                               HAC VICE)

   8                                               DAVID GOULD, A PROFESSIONAL
                                                   CORPORATION
   9                                               DAVID GOULD

  10                                               BY: /S/ GEOFFREY S. GOODMAN
                                                   ATTORNEYS FOR THE DEBTOR AND DEBTOR
  11                                               IN POSSESSION

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 1       In re: Pacifica of the Valley Corporation                                          CHAPTER: 11

 2                                                                   Debtor(s).             CASE NUMBER: 01:09-BK-11678-MT

 3
                                                  NOTE TO USERS OF THIS FORM:
 4      1) Attach this form to the last page of a proposed Order or Judgment. Do not file as a separate document.
        2) The title of the judgment or order and all service information must be filled in by the party lodging the order.
 5      3) Category I. below: The United States trustee and case trustee (if any) will always be in this category.
        4) Category II. below: List ONLY addresses for debtor (and attorney), movant (or attorney) and person/entity (or
 6      attorney) who filed an opposition to the requested relief. DO NOT list an address if person/entity is listed in category I.

 7                           NOTICE OF ENTERED ORDER AND SERVICE LIST
 8      Notice is given by the court that a judgment or order entitled FINDINGS OF FACT, CONCLUSIONS OF LAW
        AND ORDER CONFIRMING THE DEBTOR’S SECOND AMENDED CHAPTER 11 PLAN OF
 9      REORGANIZATION, AS MODIFIED was entered on the date indicated as Entered on the first page of this
        judgment or order and will be served in the manner indicated below:
10
        I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) Pursuant to controlling
11      General Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on the following
        person(s) by the court via NEF and hyperlink to the judgment or order. As of December 17, 2010, the
12      following person(s) are currently on the Electronic Mail Notice List for this bankruptcy case or adversary
        proceeding to receive NEF transmission at the email address(es) indicated below.
13
        See attached
14
                                                                               Service information continued on attached page
15
        II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or order
16      was sent by United States Mail, first class, postage prepaid, to the following person(s) and/or entity(ies) at
        the address(es) indicated below:
17
                                                                               Service information continued on attached page
18
        III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or
19      order which bears an Entered stamp, the party lodging the judgment or order will serve a complete copy
        bearing an Entered stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a proof of
20      service of the entered order on the following person(s) and/or entity(ies) at the address(es), facsimile
        transmission number(s), and/or email address(es) indicated below:
21
        See attached
22
                                                                               Service information continued on attached page
23
           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
24      January 2009                                                                                                      F 9021-1.1
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 1
         In re: Pacifica of the Valley Corporation                                            CHAPTER: 11
 2
                                                                    Debtor(s).                CASE NUMBER: 01:09-BK-11678-MT
 3

 4      ADDITIONAL SERVICE INFORMATION (if needed) :

 5      SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

 6      Manuel A Boigues bankruptcycourtnotices@unioncounsel.net
        Katherine Bunker kate.bunker@usdoj.gov
 7      Andrew W Caine acaine@pszyjw.com
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 8      Barry S Glaser bglaser@swjlaw.com
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10      Derek J Kaufman derek.kaufman@mto.com
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17      Mark Shinderman mark.shinderman@mto.com
        Wayne R Terry wterry@hemar-rousso.com
18      United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

19      TO BE SERVED BY THE LODGING PARTY (Via E-Mail)

20
        Jerry Seelig, Seelig+Cussigh HCO LLC, 4275 Baldwin Ave., Culver City, CA 90232,
21      Telephone: (310) 841-2549 main office, Telephone: (310) 493-6950 (cell), Facsimile:
        (310) 841-2842, Email: jerry@thepcos.com
22
        Morton R. Branzburg, Klehr, Harrison, Harvey, Branzburg & Ellers, LLC, 260 S. Broad
23      Street, Suite 400, Philadelphia, PA 19102-5003, Telephone: (215) 569-3007,
        Facsimile: (215) 568-6603, Email: mbranzburg@klehr.com
24
        Suzanne E Rand-Lewis, Gary Rand & Suzanne E. Rand-Lewis PLC, 5990 Sepulveda
25      Blvd Ste 330, Van Nuys, CA 91411-2523, Telephone: (818) 779-1720 / (323) 872-
        2240, Facsimile: (818) 779-1730, Email: randandlewislaw@gmail.com
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